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 B.    DECLARATION OF NISMA NAYYAR
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                UNITED STATES BANKRUPTCY COURT FOR THE
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 In re:
                                                      Case No. 6:23-bk-04081-TPG
                                                      Chapter 11
 EVOLUTION MICRO, LLC
                                                      Subchapter V Election
           Debtor.



    DECLARATION OF NISMA NAYYAR IN SUPPORT OF AMAZON.COM
    SERVICES, LLC’S RESPONSE TO OBJECTION TO ALLOWANCE OF
           CLAIM NO. 8 BY AMAZON.COM SERVICES, LLC

          Nisma Nayyar, pursuant to 28 U.S.C. § 1746, hereby certifies and declares as

follows:

          1.    I am a Risk Manager at Amazon.com, Inc. (“Amazon”). Amazon.com Inc.

is the parent company of Amazon.com Services, LLC, which filed proof of claim No. 8 in

the above-captioned bankruptcy case (the “Bankruptcy Case”) of Evolution Micro, LLC

(the “Debtor”). I have been employed by Amazon for more than seven years. I am over

the age of eighteen, I am competent to testify, and I have personal knowledge of the facts

set forth herein.

          2.    In my role as Risk Manager for Amazon, I am familiar with Amazon’s

internal processes for managing sellers who operate on the Amazon.com store (the

“Amazon Store”). I have also reviewed Amazon’s business records and relevant portions

of the Debtor’s seller account history in connection with submitting this Declaration.

          3.    In connection with the Debtor’s seller account, the Debtor agreed to

participate in Amazon’s “Fulfillment by Amazon” or “FBA” program. The FBA program




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allows sellers to outsource warehouse storage and order fulfillment to Amazon. Amazon

assists third-party sellers, including the Debtor, with the order fulfillment process,

including order receipt, storage of inventory, and shipment and delivery to third-party

customers who purchase the sellers’ goods. In exchange for the services provided by

Amazon in connection with the FBA program, Amazon is authorized to collect certain fees

and charges, including distribution fees, participation fees, and additional long-term

storage fees to the extent that inventory sits in Amazon warehouses for an extended period

of time. Amazon deducts such fees and charges from the sellers’ Amazon seller accounts.

         4.    On April 13, 2023, Amazon suspended the Debtor’s seller account because

the account was flagged as selling stolen goods. Amazon suspended the seller account

according to the terms of its Business Solutions Agreement and in order to protect its

interests and the interests of customers on the Amazon Store.

         5.    On November 3, 2023, at 12:00 p.m., the Debtor’s principal, Fazleabbas

Khaki, appeared for an in-person verification process with Amazon to confirm his identity

and the legitimacy of the Debtor’s seller account. During the interview, Mr. Khaki

disclosed that the Debtor used KZ International as a supplier, and indicated that he did not

know where the supplier sources their inventory. KZ International has been identified by

Amazon as a seller of stolen goods and is flagged in Amazon’s system. Further, the Mr.

Khaki admitted that he was the owner of a separate Amazon seller account, which was

previously suspended for selling stolen goods. In light of this information, the Debtor

failed the verification process and Amazon declined to reinstate the Debtor’s ability to sell

goods on the Amazon Store.




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         6.     As of December 5, 2023, shortly before Amazon filed proof of claim No. 8

in the Bankruptcy Case, the Debtor had a negative seller balance of -$118,273.89 for fees,

charges, and expenses incurred in connection with the FBA program. Attached hereto as

Exhibit A is a true and correct copy of itemized charges to the Debtor’s seller account

from April 28, 2023 to December 5, 2023.

         7.     The charges include, but are not limited to, FBA removal fees for returning

the seller’s inventory at their request and charges for refunds where the Debtor’s customers

have obtained refunds in relation to returns or otherwise. The most significant charges

were for FBA storage fees, including monthly storage charges of $13,599.11 on May 7,

2023; $16,080.62 on June 7, 2023; $15,933.63 on July 8, 2023; $16,053.05 on August 8,

2023; $16,006.78 on September 8, 2023; $15,541.46 on October 8, 2023; and $26,617.47

on November 8, 2023.

         8.     Amazon has continued to store the Debtor’s inventory during this

Bankruptcy Case. In addition, as reflected on Exhibit A, FBA fees, including storage

charges, continued to accrue in connection with the Debtor’s seller account after

Amazon.com Services, LLC filed its proof of claim No. 8 in the Bankruptcy Case. In

particular, there was a charge of $26,103.17 for storage fees on December 8, 2023.

         I declare under the penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.

         EXECUTED this 22nd day of February, 2024, at Dallas, Texas.




                                                                     Nisma Nayyar




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             Exhibit A
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           curren
transactio cy_co
n_order de          amount        remaining_balance day_of_event     event_type
    89536 USD       $    (240.73) $     (144,617.79)       12/8/2023 FBAStorageBilling
    89535 USD       $ (26,103.17) $     (144,377.06)       12/8/2023 FBAStorageBilling
    89534 USD       $          - $      (118,273.89)       12/5/2023 InitiateSettlement
    89533 USD       $     (60.72) $     (118,273.89)     11/30/2023 Refund

    89532 USD       $          -   $     (118,213.17)      11/30/2023 FBACustomerReturn

    89531 USD       $     (55.62) $      (118,213.17)      11/27/2023 FBAInventoryReimbursement

    89530 USD       $    (200.26) $      (118,157.55)      11/23/2023 FBAInventoryReimbursement
    89529 USD       $          - $       (117,957.29)      11/21/2023 InitiateSettlement

    89528 USD       $      (9.48) $      (117,957.29)      11/19/2023 FBAInventoryReimbursement

    89527 USD       $     (25.18) $      (117,947.81)      11/16/2023 FBAInventoryReimbursement

    89526 USD       $     (28.88) $      (117,922.63)      11/15/2023 FBAInventoryReimbursement

    89525 USD       $          -   $     (117,893.75)      11/14/2023 FBACustomerReturn

    89524 USD       $     (55.41) $      (117,893.75)      11/13/2023 FBAInventoryReimbursement
    89523 USD       $     (60.72) $      (117,838.34)      11/13/2023 Refund

    89522 USD       $    (151.08) $      (117,777.62)       11/8/2023 FBAInventoryReimbursement
    89521 USD       $ (26,617.47) $      (117,626.54)       11/8/2023 FBAStorageBilling

    89520 USD       $      (9.48) $       (91,009.07)       11/8/2023 FBAInventoryReimbursement
    89519 USD       $     (25.57) $       (90,999.59)       11/8/2023 FBARemoval
    89518 USD       $     (32.13) $       (90,974.02)       11/8/2023 FBARemoval
    89517 USD       $     (22.59) $       (90,941.89)       11/8/2023 FBARemoval
    89516 USD       $    (199.67) $       (90,919.30)       11/8/2023 FBARemoval
    89515 USD       $          - $        (90,719.63)       11/7/2023 InitiateSettlement

    89514 USD       $      (9.48) $       (90,719.63)       11/7/2023 FBAInventoryReimbursement

    89513 USD       $      (9.31) $       (90,710.15)       11/7/2023 FBAInventoryReimbursement

    89512 USD       $      (9.48) $       (90,700.84)      10/30/2023 FBAInventoryReimbursement

    89511 USD       $     (10.73) $       (90,691.36)      10/29/2023 FBAInventoryReimbursement
    89510 USD       $          - $        (90,680.63)      10/24/2023 InitiateSettlement

    89509 USD       $    (488.51) $       (90,680.63)      10/19/2023 FBAInventoryReimbursement
    89508 USD       $          - $        (90,192.12)      10/19/2023 Refund
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89507 USD    $     (35.20) $   (90,192.12)      10/13/2023 FBAInventoryReimbursement

89506 USD    $    (488.51) $   (90,156.92)      10/12/2023 FBAInventoryReimbursement

89505 USD    $    (488.51) $   (89,668.41)      10/12/2023 FBAInventoryReimbursement

89504 USD    $    (488.51) $   (89,179.90)      10/12/2023 FBAInventoryReimbursement

89503 USD    $    (488.51) $   (88,691.39)      10/12/2023 FBAInventoryReimbursement

89502 USD    $     (55.41) $   (88,202.88)      10/11/2023 FBAInventoryReimbursement
89501 USD    $          - $    (88,147.47)      10/10/2023 InitiateSettlement

89500 USD    $     (12.49) $   (88,147.47)       10/9/2023 FBAInventoryReimbursement
89499 USD    $ (15,541.46) $   (88,134.98)       10/8/2023 FBAStorageBilling

89498 USD    $    (279.03) $   (72,593.52)       10/7/2023 FBAInventoryReimbursement

89497 USD    $     (60.09) $   (72,314.49)       10/4/2023 FBAInventoryReimbursement
89496 USD    $          - $    (72,254.40)       9/26/2023 InitiateSettlement
89495 USD    $     (60.72) $   (72,254.40)       9/21/2023 Refund

89494 USD    $          - $    (72,193.68)       9/21/2023 FBACustomerReturn
89493 USD    $      13.09 $    (72,193.68)       9/20/2023 Shipment

89492 USD    $          - $    (72,206.77)       9/18/2023 FBACustomerReturn
89491 USD    $     (33.70) $   (72,206.77)       9/14/2023 Refund
89490 USD    $          - $    (72,173.07)       9/12/2023 InitiateSettlement

89489 USD    $     (36.90) $   (72,173.07)       9/11/2023 FBAInventoryReimbursement
89488 USD    $     (31.96) $   (72,136.17)        9/9/2023 Refund
89487 USD    $ (16,006.78) $   (72,104.21)        9/8/2023 FBAStorageBilling

89486 USD    $      (9.31) $   (56,097.43)        9/7/2023 FBAInventoryReimbursement

89485 USD    $     (14.69) $   (56,088.12)        9/6/2023 FBAInventoryReimbursement

89484 USD    $     (10.73) $   (56,073.43)        9/5/2023 FBAInventoryReimbursement

89483 USD    $    (167.11) $   (56,062.70)        9/5/2023 FBAInventoryReimbursement

89482 USD    $     (55.41) $   (55,895.59)        9/2/2023 FBAInventoryReimbursement

89481 USD    $     (14.69) $   (55,840.18)       8/31/2023 FBAInventoryReimbursement

89480 USD    $    (167.11) $   (55,825.49)       8/31/2023 FBAInventoryReimbursement
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89479 USD    $          -   $   (55,658.38)     8/29/2023 InitiateSettlement

89478 USD    $       (8.48) $   (55,658.38)     8/27/2023 FBAInventoryReimbursement
89477 USD    $   (1,621.04) $   (55,649.90)     8/25/2023 Refund

89476 USD    $     (74.39) $    (54,028.86)     8/23/2023 FBAInventoryReimbursement

89475 USD    $     (74.39) $    (53,954.47)     8/21/2023 FBAInventoryReimbursement

89474 USD    $     (74.07) $    (53,880.08)     8/21/2023 FBAInventoryReimbursement

89473 USD    $     (70.98) $    (53,806.01)     8/19/2023 FBAInventoryReimbursement
89472 USD    $          - $     (53,735.03)     8/15/2023 InitiateSettlement
89471 USD    $     (70.39) $    (53,735.03)     8/11/2023 Refund

89470 USD    $          -   $   (53,664.64)     8/11/2023 FBACustomerReturn

89469 USD    $    (115.95) $    (53,664.64)     8/10/2023 FBAInventoryReimbursement

89468 USD    $      (1.72) $    (53,548.69)     8/10/2023 MiscellaneousLedgerAdjustment

89467 USD    $     (36.25) $    (53,546.97)      8/9/2023 FBAInventoryReimbursement
89466 USD    $ (16,053.05) $    (53,510.72)      8/8/2023 FBAStorageBilling

89465 USD    $     (10.78) $    (37,457.67)      8/8/2023 FBAInventoryReimbursement
89464 USD    $          - $     (37,446.89)      8/4/2023 Refund

89463 USD    $    (116.35) $    (37,446.89)      8/3/2023 FBAInventoryReimbursement
89462 USD    $       7.57 $     (37,330.54)      8/1/2023 Shipment
89461 USD    $          - $     (37,338.11)      8/1/2023 InitiateSettlement
89460 USD    $     (52.36) $    (37,338.11)     7/31/2023 Refund

89459 USD    $    (116.35) $    (37,285.75)     7/31/2023 FBAInventoryReimbursement

89458 USD    $    (115.42) $    (37,169.40)     7/30/2023 FBAInventoryReimbursement
89457 USD    $      (0.55) $    (37,053.98)     7/26/2023 FBAWarehousePrep

89456 USD    $    (134.95) $    (37,053.43)     7/23/2023 FBAInventoryReimbursement
89455 USD    $          - $     (36,918.48)     7/23/2023 Refund
89454 USD    $          - $     (36,918.48)     7/18/2023 InitiateSettlement
89453 USD    $     (21.65) $    (36,918.48)     7/16/2023 Refund

89452 USD    $          -   $   (36,896.83)     7/15/2023 FBACustomerReturn

89451 USD    $    (134.95) $    (36,896.83)     7/15/2023 FBAInventoryReimbursement
89450 USD    $          - $     (36,761.88)     7/14/2023 RetroChargeRefund
89449 USD    $    (654.35) $    (36,761.88)     7/14/2023 Refund
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89448 USD    $          - $      (36,107.53)     7/13/2023 FBACustomerReturn
89447 USD    $    (612.20) $     (36,107.53)     7/13/2023 Refund
89446 USD    $     (60.72) $     (35,495.33)     7/13/2023 Refund

89445 USD    $          -    $   (35,434.61)     7/13/2023 FBACustomerReturn

89444 USD    $     (52.85) $     (35,434.61)     7/11/2023 FBAInventoryReimbursement

89443 USD    $    (120.17) $     (35,381.76)      7/9/2023 FBAInventoryReimbursement
89442 USD    $      (0.55) $     (35,261.59)      7/9/2023 FBAWarehousePrep
89441 USD    $ (15,933.63) $     (35,261.04)      7/8/2023 FBAStorageBilling

89440 USD    $     (14.69)   $   (19,327.41)      7/7/2023 FBAInventoryReimbursement
89439 USD    $          -    $   (19,312.72)      7/4/2023 DebtOffset
89438 USD    $          -    $   (19,312.72)      7/4/2023 DebtOffset
89437 USD    $          -    $   (19,312.72)      7/4/2023 InitiateSettlement

89436 USD    $    (192.09) $     (19,312.72)      7/3/2023 FBAInventoryReimbursement
89435 USD    $          - $      (19,120.63)      7/3/2023 RetroChargeRefund

89434 USD    $     (60.09) $     (19,120.63)      7/3/2023 FBAInventoryReimbursement

89433 USD    $      (9.31) $     (19,060.54)      7/2/2023 FBAInventoryReimbursement
89432 USD    $          - $      (19,051.23)      7/1/2023 Retrocharge

89431 USD    $      (4.22) $     (19,051.23)     6/28/2023 FBAInventoryReimbursement
89430 USD    $    (602.99) $     (19,047.01)     6/28/2023 Refund


 1443 USD    $   (5,372.33) $            -       6/27/2023 MiscellaneousLedgerAdjustment


89429 USD    $   5,372.33 $      (18,444.02)     6/27/2023 MiscellaneousLedgerAdjustment

89428 USD    $     (52.85) $     (23,816.35)     6/26/2023 FBAInventoryReimbursement

89427 USD    $     (52.85) $     (23,763.50)     6/24/2023 FBAInventoryReimbursement

89426 USD    $    (324.39) $     (23,710.65)     6/23/2023 FBAInventoryReimbursement

89425 USD    $    (530.43) $     (23,386.26)     6/22/2023 FBAInventoryReimbursement

89424 USD    $     (70.98) $     (22,855.83)     6/21/2023 FBAInventoryReimbursement
89423 USD    $    (391.39) $     (22,784.85)     6/21/2023 Refund
89422 USD    $    (391.39) $     (22,393.46)     6/21/2023 Refund
89421 USD    $    (391.39) $     (22,002.07)     6/21/2023 Refund
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89420 USD     $    (391.39) $     (21,610.68)     6/20/2023 Refund
89419 USD     $          - $      (21,219.29)     6/20/2023 InitiateSettlement

89418 USD     $      (4.29) $     (21,219.29)     6/20/2023 FBAInventoryReimbursement
89417 USD     $    (313.88) $     (21,215.00)     6/19/2023 Refund
89416 USD     $          - $      (20,901.12)     6/17/2023 Retrocharge
89415 USD     $          - $      (20,901.12)     6/17/2023 Retrocharge

89414 USD     $         -     $   (20,901.12)     6/17/2023 FBACustomerReturn

89413 USD     $     (52.85) $     (20,901.12)     6/17/2023 FBAInventoryReimbursement

89412 USD     $      (9.48)   $   (20,848.27)     6/17/2023 FBAInventoryReimbursement
89411 USD     $          -    $   (20,838.79)     6/15/2023 Retrocharge
89410 USD     $     (73.92)   $   (20,838.79)     6/14/2023 Refund
89409 USD     $          -    $   (20,764.87)     6/11/2023 Retrocharge

89408 USD     $     (52.55) $     (20,764.87)     6/11/2023 FBAInventoryReimbursement

89407 USD     $         -     $   (20,712.32)     6/10/2023 FBACustomerReturn

89406 USD     $          - $      (20,712.32)     6/10/2023 FBACustomerReturn
89405 USD     $    (110.00) $     (20,712.32)      6/9/2023 Refund

89404 USD     $     (18.67) $     (20,602.32)      6/8/2023 FBAInventoryReimbursement

89403 USD     $     (53.63) $     (20,583.65)      6/8/2023 FBAInventoryReimbursement
89402 USD     $ (16,080.62) $     (20,530.02)      6/7/2023 FBAStorageBilling

89401 USD     $     (52.85) $      (4,449.40)      6/7/2023 FBAInventoryReimbursement

89400 USD     $     (52.58) $      (4,396.55)      6/7/2023 FBAInventoryReimbursement
89399 USD     $          - $       (4,343.97)      6/6/2023 InitiateSettlement

89398 USD     $     (60.09) $      (4,343.97)      6/5/2023 FBAInventoryReimbursement
89397 USD     $          - $       (4,283.88)      6/3/2023 Retrocharge
89396 USD     $          - $       (4,283.88)      6/2/2023 Retrocharge

89395 USD     $     (28.88) $      (4,283.88)     5/27/2023 FBAInventoryReimbursement

89394 USD     $          -    $    (4,255.00)     5/26/2023 FBACustomerReturn
89393 USD     $          -    $    (4,255.00)     5/24/2023 Retrocharge
 2325 CAD     $       9.85    $            -      5/24/2023 DebtPayment
 2324 CAD     $      28.11    $        (9.85)     5/24/2023 DebtPayment

89392 USD     $         -     $    (4,255.00)     5/23/2023 FBACustomerReturn
89391 USD     $         -     $    (4,255.00)     5/23/2023 InitiateSettlement
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89390 USD     $    (769.99) $    (4,255.00)     5/23/2023 Refund
89389 USD     $          - $     (3,485.01)     5/22/2023 Refund


89388 USD     $     (16.58) $    (3,485.01)     5/22/2023 MiscellaneousLedgerAdjustment
89387 USD     $     (79.19) $    (3,468.43)     5/21/2023 Refund
89386 USD     $     (99.43) $    (3,389.24)     5/21/2023 Refund

89385 USD     $         -   $    (3,289.81)     5/21/2023 FBACustomerReturn

89384 USD     $         -   $    (3,289.81)     5/21/2023 FBACustomerReturn

89383 USD     $          - $     (3,289.81)     5/21/2023 FBACustomerReturn
89382 USD     $          - $     (3,289.81)     5/19/2023 Retrocharge
89381 USD     $    (399.68) $    (3,289.81)     5/19/2023 Refund

89380 USD     $           - $    (2,890.13)     5/19/2023 FBACustomerReturn
89379 USD     $   18,828.44 $    (2,890.13)     5/18/2023 DebtPayment

89378 USD     $     (69.25) $   (21,718.57)     5/18/2023 FBAInventoryReimbursement

89377 USD     $     (60.09) $   (21,649.32)     5/16/2023 FBAInventoryReimbursement

89376 USD     $          - $    (21,589.23)     5/16/2023 FBACustomerReturn
89375 USD     $     (20.23) $   (21,589.23)     5/16/2023 Refund

89374 USD     $     (68.71) $   (21,569.00)     5/15/2023 FBAInventoryReimbursement
89373 USD     $    (726.60) $   (21,500.29)     5/15/2023 Refund
89372 USD     $     (24.26) $   (20,773.69)     5/14/2023 FBARemoval
89371 USD     $      (8.51) $   (20,749.43)     5/14/2023 FBARemoval
89370 USD     $     (13.03) $   (20,740.92)     5/14/2023 FBARemoval
89369 USD     $      (0.52) $   (20,727.89)     5/14/2023 FBARemoval
89368 USD     $     (31.62) $   (20,727.37)     5/14/2023 FBARemoval
89367 USD     $     (29.63) $   (20,695.75)     5/14/2023 FBARemoval
89366 USD     $      (4.91) $   (20,666.12)     5/14/2023 FBARemoval
89365 USD     $     (11.03) $   (20,661.21)     5/14/2023 FBARemoval
89364 USD     $     (14.18) $   (20,650.18)     5/14/2023 FBARemoval
89363 USD     $     (21.12) $   (20,636.00)     5/14/2023 FBARemoval
89362 USD     $     (29.32) $   (20,614.88)     5/14/2023 FBARemoval
89361 USD     $     (11.66) $   (20,585.56)     5/14/2023 FBARemoval
89360 USD     $      (5.05) $   (20,573.90)     5/14/2023 FBARemoval
89359 USD     $     (13.55) $   (20,568.85)     5/14/2023 FBARemoval
89358 USD     $     (28.36) $   (20,555.30)     5/14/2023 FBARemoval
89357 USD     $      (2.14) $   (20,526.94)     5/14/2023 FBARemoval
89356 USD     $      (2.89) $   (20,524.80)     5/14/2023 FBARemoval
89355 USD     $      (8.51) $   (20,521.91)     5/14/2023 FBARemoval
89354 USD     $     (10.11) $   (20,513.40)     5/14/2023 FBARemoval
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89353 USD     $    (21.74)   $   (20,503.29)     5/14/2023 FBARemoval
89352 USD     $    (18.59)   $   (20,481.55)     5/14/2023 FBARemoval
89351 USD     $    (11.66)   $   (20,462.96)     5/14/2023 FBARemoval
89350 USD     $     (8.51)   $   (20,451.30)     5/14/2023 FBARemoval
89349 USD     $    (39.38)   $   (20,442.79)     5/14/2023 FBARemoval
89348 USD     $    (14.81)   $   (20,403.41)     5/14/2023 FBARemoval
89347 USD     $     (0.52)   $   (20,388.60)     5/14/2023 FBARemoval
89346 USD     $    (12.92)   $   (20,388.08)     5/14/2023 FBARemoval
89345 USD     $     (7.40)   $   (20,375.16)     5/14/2023 FBARemoval
89344 USD     $    (24.26)   $   (20,367.76)     5/14/2023 FBARemoval
89343 USD     $     (8.51)   $   (20,343.50)     5/14/2023 FBARemoval
89342 USD     $     (4.80)   $   (20,334.99)     5/14/2023 FBARemoval
89341 USD     $     (9.77)   $   (20,330.19)     5/14/2023 FBARemoval
89340 USD     $     (2.89)   $   (20,320.42)     5/14/2023 FBARemoval
89339 USD     $    (14.81)   $   (20,317.53)     5/14/2023 FBARemoval
89338 USD     $    (48.20)   $   (20,302.72)     5/14/2023 FBARemoval
89337 USD     $    (37.49)   $   (20,254.52)     5/14/2023 FBARemoval
89336 USD     $    (10.29)   $   (20,217.03)     5/14/2023 FBARemoval
89335 USD     $     (2.14)   $   (20,206.74)     5/14/2023 FBARemoval
89334 USD     $    (14.18)   $   (20,204.60)     5/14/2023 FBARemoval
89333 USD     $     (2.14)   $   (20,190.42)     5/14/2023 FBARemoval
89332 USD     $     (2.66)   $   (20,188.28)     5/14/2023 FBARemoval
89331 USD     $     (2.89)   $   (20,185.62)     5/14/2023 FBARemoval
89330 USD     $    (60.72)   $   (20,182.73)     5/14/2023 Refund

89329 USD     $        -     $   (20,122.01)     5/14/2023 FBACustomerReturn

89328 USD     $        -     $   (20,122.01)     5/14/2023 FBACustomerReturn

89327 USD     $    (55.41) $     (20,122.01)     5/14/2023 FBAInventoryReimbursement

89326 USD     $         - $      (20,066.60)     5/14/2023 FBACustomerReturn
89325 USD     $   (769.99) $     (20,066.60)     5/12/2023 Refund
89324 USD     $    (12.23) $     (19,296.61)     5/12/2023 Refund
89323 USD     $   (120.70) $     (19,284.38)     5/12/2023 Refund
89322 USD     $         - $      (19,163.68)     5/12/2023 Refund
89321 USD     $    (10.12) $     (19,163.68)     5/11/2023 Refund


89320 USD     $      8.29 $      (19,153.56)     5/10/2023 MiscellaneousLedgerAdjustment

89319 USD     $        -     $   (19,161.85)     5/10/2023 FBACustomerReturn

89318 USD     $         - $      (19,161.85)     5/10/2023 FBACustomerReturn
89317 USD     $   (315.40) $     (19,161.85)     5/10/2023 Refund
89316 USD     $    (18.01) $     (18,846.45)     5/10/2023 Refund
89315 USD     $         - $      (18,828.44)      5/9/2023 Retrocharge
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89314 USD     $          - $      (18,828.44)      5/9/2023 InitiateSettlement
89313 USD     $    (399.68) $     (18,828.44)      5/9/2023 Refund

89312 USD     $         -     $   (18,428.76)      5/9/2023 FBACustomerReturn

89311 USD     $          - $      (18,428.76)      5/9/2023 FBACustomerReturn
89310 USD     $    (399.68) $     (18,428.76)      5/9/2023 Refund
89309 USD     $    (145.08) $     (18,029.08)      5/9/2023 Refund

89308 USD     $          -    $   (17,884.00)      5/9/2023 FBACustomerReturn
89307 USD     $     (12.23)   $   (17,884.00)      5/8/2023 Refund
89306 USD     $          -    $   (17,871.77)      5/8/2023 RetroChargeRefund
89305 USD     $          -    $   (17,871.77)      5/8/2023 Retrocharge

89304 USD     $          - $      (17,871.77)      5/8/2023 FBACustomerReturn
89303 USD     $ (13,599.11) $     (17,871.77)      5/7/2023 FBAStorageBilling

89302 USD     $    (296.41) $      (4,272.66)      5/7/2023 FBAInventoryReimbursement

89301 USD     $    (296.41) $      (3,976.25)      5/7/2023 FBAInventoryReimbursement
89300 USD     $     (12.23) $      (3,679.84)      5/7/2023 Refund
89299 USD     $     207.35 $       (3,667.61)      5/6/2023 Shipment
89298 USD     $     (70.39) $      (3,874.96)      5/6/2023 Refund
89297 USD     $     (10.12) $      (3,804.57)      5/5/2023 Refund

89296 USD     $         -     $    (3,794.45)      5/5/2023 FBACustomerReturn

89295 USD     $         -     $    (3,794.45)      5/5/2023 FBACustomerReturn

89294 USD     $    (296.41) $      (3,794.45)      5/5/2023 FBAInventoryReimbursement

89293 USD     $          -    $    (3,498.04)      5/5/2023 FBACustomerReturn
89292 USD     $      24.35    $    (3,498.04)      5/4/2023 Shipment
89291 USD     $     (12.23)   $    (3,522.39)      5/4/2023 Refund
89290 USD     $      69.22    $    (3,510.16)      5/4/2023 Shipment
89289 USD     $      69.22    $    (3,579.38)      5/4/2023 Shipment

89288 USD     $     (60.09) $      (3,648.60)      5/4/2023 FBAInventoryReimbursement

89287 USD     $          - $       (3,588.51)      5/4/2023 FBACustomerReturn
89286 USD     $    (769.99) $      (3,588.51)      5/4/2023 Refund
89285 USD     $          - $       (2,818.52)      5/4/2023 Refund
89284 USD     $    (399.68) $      (2,818.52)      5/3/2023 Refund

89283 USD     $    (303.67) $      (2,418.84)      5/3/2023 FBAInventoryReimbursement
89282 USD     $      69.22 $       (2,115.17)      5/3/2023 Shipment
89281 USD     $    (769.99) $      (2,184.39)      5/2/2023 Refund
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89280 USD     $    (16.72) $     (1,414.40)        5/2/2023 Refund

89279 USD     $     (7.91) $     (1,397.68)        5/2/2023 FBAInventoryReimbursement

89278 USD     $     (7.91) $     (1,389.77)        5/2/2023 FBAInventoryReimbursement
89277 USD     $         - $      (1,381.86)       4/30/2023 Retrocharge

89276 USD     $     (7.91) $     (1,381.86)       4/30/2023 FBAInventoryReimbursement
89275 USD     $   (396.60) $     (1,373.95)       4/30/2023 Refund
89274 USD     $     (6.16) $       (977.35)       4/30/2023 Refund
89273 USD     $   (612.20) $       (971.19)       4/29/2023 Refund

89272 USD     $   (303.67) $         (358.99)     4/29/2023 FBAInventoryReimbursement
89271 USD     $    (10.12) $          (55.32)     4/28/2023 Refund
89270 USD     $    (46.37) $          (45.20)     4/28/2023 Refund
89269 USD     $    (10.56) $            1.17      4/28/2023 Refund
89268 USD     $   (311.72) $           11.73      4/28/2023 Refund
89267 USD     $    (60.72) $          323.45      4/28/2023 Refund
89266 USD     $   (595.75) $          384.17      4/28/2023 Refund
